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                         UNITED STATES DISTRICT COURT

                               DISTRICT OF MAINE


UNITED STATES OF AMERICA              )
                                      )
                                      )
v.                                    )            CRIMINAL NO. 99-79-P-H-04
                                      )
PAUL W. MOUNTS,                       )
                                      )
                   DEFENDANT          )


     ORDER ON DEFENDANT’S MOTION FOR APPOINTMENT OF COUNSEL


      The defendant has filed a motion for appointment of a lawyer to seek a
reduction in his sentence because the Sentencing Commission has retroactively
lowered the base offense level for cocaine base (crack cocaine) offenses.          The
defendant cannot benefit from the retroactive change, and the motion is therefore
DENIED.
      The defendant’s original Guidelines calculations were a total offense level of 38
and a Criminal History of V. The resulting Guidelines range was 360 months to life
(1998 Guidelines Manual), but the statute capped the sentence at 20 years. 21
U.S.C. § 841(b)(1)(C).    Accordingly, the December 28, 2000, Judgment and
Commitment signed by Judge Carter imposed a sentence of 20 years. If I now lower
the defendant’s total offense level to 36 because of the retroactive Guideline
amendment, his Guidelines range becomes 292-365 months, still in excess of the
statutory cap. Thus, his sentence would still be the statutory cap of 20 years.
      The motion, treated also as a motion to reduce sentence, is DENIED.
      SO ORDERED.

      DATED THIS 6TH DAY OF MARCH, 2008

                                             /S/D. BROCK HORNBY
                                             D. BROCK HORNBY
                                             UNITED STATES DISTRICT JUDGE
